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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK


                                           - -X

 UNITED STATES OF AMERICA                                      ORDER

          - against -                                          Cr. No. 20-305 (S-2) (LDH)

 KARL JORDAN, JR.,
      also known as "Little D"
      and "Noid," and
 RONALD WASHINGTON,
       also known as "Tinard,"

                          Defendants.

                                               -X

                  This matter comes before the Court on the Application of BREON PEACE,

United States Attorney for the Eastern District of New York, by Miranda Gonzalez, Assistant

United States Attorney, for an order permitting the use of appropriate means, including force, to

compel the production of YUSUF ABDUR-RAHMAN, inmate number 11420-171, to appear for

any future court ap]learances in connection with the above-referenced matter.

                 The Court finds that the Application is made in good faith and that there is a

reasonable belief that the requested relief is necessary to secure the appearance of YUSUF

ABDUR-RAHMAN for any future court appearances in connection with the above-referenced

matter.

                 It is, therefore,

                 ORDERED, pursuant to 28 U.S.C. § 1651, that the Bureau of Prisons, with




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 assistance as necessary from the United States Marshals Service, or any federal officer, shall use

 any appropriate force to secure the appearance of YUSUF ABDUR-RAHMAN to appear for any

 court appearance in connection with the above-referenced matter.

 Dated:   Brooklyn, New York
          February 7, 2024



                                                 s/ s/LDH, USDJ
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                                              UNITED S TES DISTRICT nJDGE
                                              EASTERN DISTRICT OF NEW YORK




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